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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

1)     CHANELLE SATTERFIELD,                  )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )   Case No.: CIV-17-1263-W
                                              )   (formerly Garfield County District
1)     GOVERNMENT EMPLOYEES                   )   Court Case No.: CJ-2016-140-01)
       INSURANCE COMPANY,                     )
       a foreign corporation,                 )
                                              )
              Defendant.                      )

                                NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant, Government Employees

Insurance Company (“GEICO”), hereby removes the state court action, Chanelle Satterfield

v. Government Employees Insurance Company, Case No. CJ-2016-140-01, from the District

Court in and for Garfield County, State of Oklahoma, to this Court. Pursuant to LCvR 81.2,

a copy of the state court docket sheet, as well as all documents filed or served in the state

court action, are attached hereto as EXHIBITS 1-13.

       The basis for this removal is that complete diversity exists and the amount in

controversy exceeds the jurisdictional amount required by 28 U.S.C. § 1332. Additionally,

one year has not passed since the commencement of the instant action because GEICO was

substituted as the sole defendant in this action on July 18, 2017. Alternatively, if the Court

concludes that more than one year has passed since the commencement of this action,

Plaintiff has acted in bad faith in order to prevent GEICO from removing the action. Thus,
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GEICO can properly remove this action to federal court pursuant to 28 U.S.C. § 1446(c)(1).

In further support, GEICO offers the Court the following:

                             PERTINENT PROCEDURAL BACKGROUND

           1.      This action arises out of an automobile accident between Plaintiff and the

former Defendant in this litigation, Kailee Taylor (“Taylor”), which occurred on July 24,

2014 (hereinafter the “Accident”). (See Plaintiff’s Second Amended Petition, EXHIBIT 12,

at ¶ 7.)

           2.       At the time of the Accident, Plaintiff had a policy of insurance in effect with

GEICO with a UM/UIM combined single limit of $300,000. (See GEICO’s Declarations

Page, EXHIBIT 14.)

           3.      At the time of the Accident, Taylor had a policy of automobile liability

insurance in effect with State Farm, with bodily injury liability limits of $100,000.

           4.      On or about July 13, 2015, Plaintiff’s attorney notified GEICO that Plaintiff

may be making a UIM claim. (See July 13, 2015, Letter from R. Wagner to GEICO,

EXHIBIT 15.)

           5.      On or about May 17, 2016, GEICO notified Plaintiff’s counsel that it had

evaluated Plaintiff’s claim within Taylor’s liability policy limits. (See May 17, 2016, Letter

from GEICO to R. Wagner, EXHIBIT 16.)

           6.      On June 22, 2016—after GEICO’s denial of Plaintiff’s claim—Plaintiff filed

suit solely against Taylor in the District Court of Garfield County, State of Oklahoma (Case




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No. CJ-2016-140-01) (hereinafter referred to as Plaintiff’s “First Lawsuit”). (See Plaintiff’s

Petition, EXHIBIT 2.)

       7.       The only allegations contained in the Petition filed in Plaintiff’s First Lawsuit

related to the alleged negligence of Taylor and the alleged damages resulting therefrom. (See

generally Plaintiff’s Petition, EXHIBIT 2.)

       8.       GEICO was not named as a Defendant in the First Lawsuit even though

GEICO had already informed Plaintiff that it had evaluated Plaintiff’s claim within Taylor’s

liability limits. (See Plaintiff’s Petition, EXHIBIT 2.)

       9.       After the filing of Taylor’s Answer to Plaintiff’s original Petition, no other

filings were submitted in state court prior to June 16, 2017. (See Docket Sheet, EXHIBIT 1.)

       10.      Neither of the parties to the First Lawsuit moved for or obtained a Scheduling

Order. (See Docket Sheet, EXHIBIT 1.)

       11.      On June 16, 2017, Plaintiff filed an unopposed Motion to Join Additional Party

and Amend Petition (hereinafter referred to as Plaintiff’s “Motion to Amend”). (See

Plaintiff’s Motion to Amend, EXHIBIT 7.)

       12.      In Plaintiff’s Motion to Amend, she stated that she and Taylor had “settled all

issues with each other.” Plaintiff also alleged that GEICO was a necessary party to the First

Lawsuit. (See Plaintiff’s Motion to Amend, EXHIBIT 7.)

       13.      On June 21, 2017, the District Court in and for Garfield County, State of

Oklahoma, granted Plaintiff’s Motion to Amend. (See Order Granting Plaintiff’s Motion to

Amend, EXHIBIT 8.)


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       14.      On the same day, Plaintiff filed a Dismissal with Prejudice of her claims

against Taylor. (See Plaintiff’s Dismissal with Prejudice, EXHIBIT 9; see also Docket Sheet,

EXHIBIT 1.)

       15.      From June 21, 2017, until July 18, 2017, there were no claims pending before

the state court in connection with the First Lawsuit, and no defendants were named therein.

(See Plaintiff’s Dismissal with Prejudice, EXHIBIT 9; see also Docket Sheet, EXHIBIT 1.)

       16.      On July 18, 2017, Plaintiff filed her First Amended Petition naming GEICO

as the sole defendant (hereinafter referred to as Plaintiff’s “Second Lawsuit”). (See

Plaintiff’s First Amended Petition, EXHIBIT 10.)

       17.      Plaintiff’s claims in her Second Lawsuit consist of breach of contract and bad

faith claims against GEICO. The Second Lawsuit also seeks a declaratory judgment on the

question of whether Plaintiff’s UM/UIM policy stacks for a total amount of coverage of

$1,200,000. (See Plaintiff’s First Amended Petition, EXHIBIT 10.)

       18.      Upon information and belief, the First Amended Petition was never served on

GEICO.

       19.      On October 23, 2017, Plaintiff filed a Second Amended Petition, once again

naming GEICO as the sole Defendant. Plaintiff’s Second Amended Petition similarly alleges

breach of contract and bad faith claims against GEICO. (See Plaintiff’s Second Amended

Petition, EXHIBIT 12.)




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       20.      On October 27, 2017, Plaintiff served her Second Amended Petition on GEICO

via certified mail. (See Certified Mail Receipt, EXHIBIT 13; see also Docket Sheet, EXHIBIT

1.)

                               THE AMOUNT IN CONTROVERSY

       21.      The Tenth Circuit has explained that “[t]he right of removal depends upon the

case disclosed by the pleadings when the petition therefore is filed.” Woerter v. Orr, 127

F.2d 969, 973 (10th Cir. 1942).

       22.      As disclosed by the pleadings, Plaintiff claims she is entitled to receive a total

amount of $1,200,000 in stacked UIM policy benefits, as well as actual and punitive damages

connected to GEICO’s alleged bad faith. (See Plaintiff’s Second Amended Petition, EXHIBIT

12.)

       23.      Plaintiff’s Second Amended Petition states that she seeks judgment against

GEICO “in an amount that would exceed the amount required for diversity jurisdiction and

any and all further relief that she may be entitled to in law and equity.” (See Plaintiff’s

Second Amended Petition, EXHIBIT 12.)

       24.      Based on the foregoing, the amount in controversy requirement of 28 U.S.C.

§ 1332 is satisfied in the instant case.

                              THE CITIZENSHIP OF THE PARTIES

       25.      According to Plaintiff’s First Amended Petition, Plaintiff was a resident of

Warren County, Virginia, when her lawsuit against GEICO was filed. (See Plaintiff’s First




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Amended Petition, ¶ 2, EXHIBIT 10.) Upon information and belief, Plaintiff continues to be

a resident of Warren County, Virginia.

        26.      For purposes of diversity jurisdiction, a corporation shall be deemed a citizen

of any state by which it has been incorporated and the state where it maintains its principal

place of business. 28 U.S.C. § 1332(c). While Congress did not define “principal place of

business,” the Supreme Court has held that a corporation’s principal place of business is

presumed to be the place of the corporation’s headquarters or “nerve center.” Hertz Corp.

v. Friend, 599 U.S. 77, 81-82 (2010).

        27.      GEICO is incorporated under the laws of the State of Maryland and maintains

its principal place of business in Chevy Chase, Maryland. (See Printout from Maryland

Secretary of State Website, EXHIBIT 17.) Therefore, for purposes of diversity jurisdiction,

GEICO is deemed to be a citizen of Maryland.

        28.      Because Plaintiff is a citizen of Virginia and GEICO is a citizen of Maryland,

complete diversity of citizenship exists between the parties in accordance with 28 U.S.C. §

1332.

                         GEICO’S REMOVAL IS TIMELY AND PROPER

        29.      GEICO’s removal of this case is proper under 28 U.S.C. § 1446. This statute

provides, in pertinent part, as follows:

                 The notice of removal of a civil action or proceeding shall be
                 filed within 30 days after the receipt by the defendant, through
                 service or otherwise, of a copy of the initial pleading setting
                 forth the claim for relief upon which such action or proceeding
                 is based . . .

28 U.S.C. § 1446(b)(1).

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       30.      This Notice of Removal is timely filed with the Court. On or about October

27, 2017, Plaintiff, pursuant to 36 O.S. § 621(B), served a copy of the Summons and Second

Amended Petition on GEICO through the Oklahoma Insurance Commissioner. (See Docket

Sheet, EXHIBIT 1; see also Plaintiff’s Certified Mail Receipt, EXHIBIT 13, and Transmittal

Letter from the Oklahoma Insurance Commissioner dated October 30, 2017, EXHIBIT 18.)

       31.      Based on the record above, 30 days have not elapsed from the date GEICO was

served with Plaintiff’s Second Amended Petition. Therefore, this removal is timely and

compliant with the 30-day limitation embodied in 28 U.S.C. § 1446(b)(1).

       32.      Additionally, pursuant to the same federal statute, one year has not elapsed

since the commencement of this action. Under 28 U.S.C. § 1446(c)(1), a diversity

jurisdiction case cannot be removed “more than 1 year after commencement of the action.”

       33.      In removal cases, “[t]he date of commencement is determined by State law.”

Jordan v. Lowery, No. CIV–13–183–RAW, 2013 WL 3479655 *1, *1 (E.D. Okla. July 10,

2013) (citing Richfield Hospitality Inc. v. Charter One Hotels & Resorts, Inc., 978 F.Supp.2d

1194 (D. Colo. 2013)).

       34.      Under Oklahoma law, the dismissal of all defendants from an action, followed

by the filing of an amended petition, constitutes a new lawsuit. In Wiley Electric, Inc. v.

Brantley, 1988 OK 80, ¶ 13, 760 P.2d 182, 186, the Oklahoma Supreme Court noted that

“[o]nce a voluntary dismissal has been entered, the trial court is without further jurisdiction

in the case.” Indeed, “[o]nce an action has been dismissed, no jurisdiction remains in [the]

district court to go forward with the action.” General Motors Acceptance Corp. v.

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Carpenter, 1978 OK 39, ¶ 8, 576 P.2d 1166, 1168. In Wiley, the court found that “when the

case was dismissed, there was no petition pending which would be subject to amendment.”

Elliott v. McCaleb, 2006 OK CIV APP 87, ¶ 10, 139 P.3d 253, 256.

       35.      In Thrasher v. Windsor Quality Food Company, No. 13–CV–780–GKF–PJC,

2014 WL 1572411 *1 (N.D. Okla. April 18, 2014), the United States District Court for the

Northern District of Oklahoma addressed the running of 28 U.S.C. § 1446(c)(1)’s one-year

period for on removal. In Thrasher, the plaintiff filed his original lawsuit in 2008 and

dismissed it without prejudice on January 19, 2012. Id. at * 1. He then re-filed his lawsuit

on January 18, 2013, thus complying with Oklahoma’s savings statute. Id. at *1-2. When

the defendants filed a notice of removal, the plaintiff filed a motion to remand, arguing that

§ 1446(c)(1)’s one-year removal period began in 2008 when the original action was filed.

Id. at *2. The district court denied the plaintiff’s motion to remand. Id. at *4. Relying on

the Oklahoma Supreme Court’s opinion in Wiley, the district court ruled that “[o]nce a case

is dismissed without prejudice, any re-filed action is considered a separate new action rather

than a continuation of the previous lawsuit.” Id. at *2.

       36.      The Thrasher court also relied on Beebe v. Flores, No. CIV–11–1381–HE,

2012 WL 112330, *1 (W.D. Okla. Jan. 12, 2012). In Beebe, the United States District Court

for the Western District of Oklahoma noted that “courts which have addressed this issue

uniformly agree than when an action is dismissed without prejudice—even when voluntarily

so by the plaintiff—and subsequently re-filed, a new ‘action’ is commenced for purposes of




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removal. . . . Thus, the court analyzes the timeliness of removal from the perspective of the

second petition.” Id. at *1.

       37.      In accordance with the Oklahoma Supreme Court’s opinions in Wiley and

Carpenter, the filing of a voluntary dismissal operates to terminate the state court’s

jurisdiction. Relying on Wiley, the Oklahoma Court of Civil Appeals has recognized that a

voluntary dismissal results in “no petition pending which would be subject to amendment.”

Elliott, 2006 OK CIV APP 87 at ¶ 10.

       38.       Plaintiff’s First Lawsuit against Taylor ended on June 21, 2017, when she

dismissed Taylor—the sole defendant—with prejudice. (See Plaintiff’s Dismissal with

Prejudice, EXHIBIT 9; see also Docket Sheet, EXHIBIT 1.) Such action represents the formal

conclusion of her claims against the sole defendant at that time, and under Wiley and Elliott,

the District Court in and for Garfield County, State of Oklahoma, was without jurisdiction

over the First Lawsuit after June 21, 2017.

       39.      After the dismissal of the sole defendant from Plaintiff’s First Lawsuit, there

were no claims pending before the state court from June 21, 2017, until July 18, 2017.

During this period, no petition was operative as against any defendant, and no person or

entity was even named as a defendant. (See Plaintiff’s Dismissal with Prejudice, EXHIBIT

9; see also Docket Sheet, EXHIBIT 1.)

       40.      Additionally, federal courts have recognized that a substantial change in the

character of the litigation can reset the time limitations on a defendant’s right to remove. See

e.g. Pierce v. Atlantic Specialty Ins. Co., No. 16-829 JAP/KBM, 2017 WL 3190742 *1, *11



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(D.N.M. July 26, 2017) (noting that an amended complaint which “changes the character of

the litigation so as to make it substantially a new suit” will “revive the period for removal”);

First Nat. Bank & Trust Co. v. Nicholas, 768 F.Supp. 788, 791 (D. Kan. 1991) (same); Braud

v. Transport Serv. Co., 445 F.3d 801, 806 (5th Cir. 2006) (“[A]lthough ‘an amendment of

the complaint will not revive the period for removal if a state court case previously was

removable but the defendant failed to exercise his right to do so,’ a different result is

generally reached if the pleading amendment . . . ‘changes the character of the litigation so

as to make it substantially a new suit.’” (quoting 14C CHARLES ALEN WRIGHT, ARTHUR R.

MILLER & EDWARD H. COOPER, FEDERAL PRACTICE AND PROCEDURE § 3732 (3d ed. 1998))).

       41.    The record above demonstrates that when Plaintiff filed her First Amended

Petition, which named GEICO as the sole defendant and asserted completely differently

claims than those asserted in the First Lawsuit, she filed a completely different Second

Lawsuit. (See Plaintiff’s First Amended Petition, EXHIBIT 10.) The claims alleged in the

Second Lawsuit are wholly distinct from those asserted in the First Lawsuit. Therefore, in

accordance with Thrasher, § 1446(c)(1)’s one-year period for removal of the Second Lawsuit

did not begin until Plaintiff’s First Amended Petition was filed, or July 18, 2017. (See

Plaintiff’s First Amended Petition, EXHIBIT 10.)

       42.    Since the one-year period for removal has not expired, this removal is timely

under 28 U.S.C. § 1446(c)(1).




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       43.    Alternatively, if the Court concludes that Plaintiff’s First Amended Petition

does not constitute a completely new action for purposes of removal, then the bad faith

exception to 28 U.S.C. § 1446(c)(1) is applicable to this case.

       44.    Under § 1446(c)(1), the one-year limitation on removal does not apply if “the

district court finds that the plaintiff has acted in bad faith in order to prevent a defendant

from removing the action.”

       45.    In this case, Plaintiff filed her original Petition on June 22, 2016, and named

Taylor as the sole defendant. (See Plaintiff’s Petition, EXHIBIT 2.) The state court docket

sheet demonstrates that after Taylor answered Plaintiff’s Petition on September 20, 2016, no

further filings were submitted in state court until June 16, 2017. (See Docket Sheet, EXHIBIT

1.) Moreover, Plaintiff never sought a Scheduling Order, and the District Court in and for

Garfield County, State of Oklahoma, never entered a Scheduling Order or placed the case on

its jury or non-jury docket. (See Docket Sheet, EXHIBIT 1.)

       46.    On June 16, 2017—1 year and 26 days after filing her original

Petition—Plaintiff filed her Motion to Amend. (See Plaintiff’s Motion to Amend, EXHIBIT

7.) Plaintiff’s Motion to Amend stated that she had settled all of her claims against Taylor

and that GEICO was a “necessary party to the action.” (See Plaintiff’s Motion to Amend,

EXHIBIT 7.)

       47.    Plaintiff’s First Amended Petition naming GEICO as the sole defendant was

then filed July 18, 2017. (See Plaintiff’s First Amended Petition, EXHIBIT 10.)




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       48.    Although Plaintiff was aware of GEICO’s denial of her underinsured motorist

claim on May 17, 2016, she did not name GEICO in her original Petition against Taylor.

Instead, she waited an additional 14 months before naming GEICO as a defendant in

this case. This occurred on July 18, 2017, which was shortly after the expiration of the one-

year period for removal. (See May 17, 2016, Letter from GEICO to R. Wagner, EXHIBIT 16;

see also Docket Sheet, EXHIBIT 1.)

       49.    The record above demonstrates that Plaintiff purposely failed to add GEICO

as a defendant in this matter until after the expiration of the one year period for removal. The

sole reason for Plaintiff’s delay in adding GEICO to this litigation was to prevent GEICO

from removing this case to federal court. Therefore, the bad faith exception to the one-year

removal period applies to the instant matter, making this removal timely under 28 U.S.C. §

1446(c)(1).

       50.    This case has been removed to the proper federal district court. The pertinent

language of 28 U.S.C. § 1446(a) provides that the defendant shall file the Notice of Removal

in “the District Court of the United States for the district and division within which such

action is pending.” 28 U.S.C. § 1446(a). Currently, this action is pending in the District

Court in and for Garfield County, State of Oklahoma. The Western District of Oklahoma

includes Garfield County. See 28 U.S.C. § 116(c). Therefore, removal to this Court is

proper.

       51.    Pursuant to 28 U.S.C. § 1446(d), GEICO will serve written notice of the filing

of this Notice of Removal upon Plaintiff. GEICO will also promptly file a copy of the Notice



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of Removal with the Clerk of the District Court in and for Garfield County, State of

Oklahoma.

                                             Respectfully submitted,


                                              s/ Jace T. White
                                             Gerard F. Pignato, OBA No. 11473
                                             Jace T. White, OBA No. 32892
                                             PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
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                                             Telephone: 405-606-3333
                                             Facsimile: 405-606-3334
                                             ATTORNEYS FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2017, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

       Rick Bisher, Esquire
       Riley Bisher, Esquire

                                                  s/ Jace T. White
                                                  For the Firm


        I hereby certify that on November 22, 2017, I served the same document by U.S. Mail
to the following, who are not registered participants in the ECF System:

       Janelle M. Sharp, Court Clerk              VIA U.S. MAIL
       Garfield County Courthouse
       114 West Broadway Avenue
       Enid, Oklahoma 73701


                                                  s/ Jace T. White
                                                  For the Firm




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